Case 1;19-cv-01339 Dodandhtdse AEdEt11/19 Page 1 dlerRagelbek’ hoy

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Phore# B/P 192-10 Sy
Sheriff William E. Hilton
Sheritf, Rapides Parish
Alexandria, LA 71309

RE: Request for Accommodation by Deputy Jerry McKinney
Dear Sheriff Hilton:

| appreciate your quick response to my letter requesting an accommodation due to my
disability resulting from a stroke.

In your letter you indicate that there are no eight-hour shifts for correctional officers. My
request Jor an accommodation is to work in any other section of the sheriff's office which may
have eight-hour shifi. As a deputy [ have worked in various other areas and most recently
worked in courthouse security on an cight-hour shifi successfully until my recent transfer. |
would like to request that I be assigned to a job in a section of the office in which an eight-hour
shilt is available.

Although, | appreciate your suggestion that | retire. ] do not want to retire at this time and
feel that I can continue my carcer at the sheriff's office very successtully.

Yours Truly.

Zak IM Runges

cKinney

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